






NO. 07-99-0323-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



FEBRUARY 10, 2005


______________________________


									

ROBERT MILLER, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 106TH DISTRICT COURT OF LYNN COUNTY;



NO. 98-2406; HONORABLE GEORGE H. HANSARD, JUDGE



_______________________________



Before JOHNSON, C.J., and QUINN and CAMPBELL, JJ.


ORDER



	On April 4, 2003 appellant filed a Motion to Compel the State to File, Process and
Respond to Appellant's Application for Writ of Habeas Corpus, to Stop Denying Appellant
Access to the Courts and Justice.  Mandate was issued in this cause on February 21, 2002. 
Therefore, this Court lacks jurisdiction to consider this motion.  This motion is dismissed
for want of jurisdiction.  

							Per Curiam. 



ror.  We affirm.


Background

	Before Grand Prairie police executed a search warrant for a motel room, they used
a pretext to remove appellant from the room and arrested him pursuant to an arrest
warrant. At the time of his arrest, appellant had a key to the room and $200 in cash. 
During the search of the room, police found, among other things, two batches of cocaine,
one weighing 4.85 grams, the other .07 grams.  The State presented evidence to show that
appellant had a long-term rental for the room and had paid in cash.  		

	Appellant presented evidence that he was paying for the room for Carrie, the mother
of his six-year-old daughter. (2)  Carrie testified at trial that appellant left the room because
she and a friend were high on drugs and claimed the drugs found in the room belonged to
her friend.   Appellant testified similarly, stating he was living with his sister and denying
any knowledge of the drugs found in the motel room.  A rebuttal witness for the State
testified appellant admitted he lived in the room. 

	Following the presentation of the evidence, the jury found appellant guilty as
charged in the second count of the indictment.  Appellant did not testify during the 
punishment stage but presented one witness to testify on his behalf. The jury assessed the
punishment we have noted, and this appeal followed. 


Analysis

	On appeal, appellant identifies ten points of error that he contends require reversal
of the judgment and remand for a new trial.  We disagree and affirm appellant's conviction
and sentence.

Point of Error One-Denial of Appellant's Request for Additional Peremptory Challenge

	In appellant's first point of error, he argues the trial court reversibly erred in denying
his request for an additional peremptory challenge after it overruled his challenge for cause
to venireperson Lain. During jury selection, appellant challenged Lain for cause on two
bases: (1) inability to not consider as a circumstance against him appellant's failure to
testify; and (2) inability to follow the law relied on by appellant that his mere presence in
the room did not establish his possession of the drugs.  His challenge was denied.  After
appellant exhausted his allotted peremptory challenges, including that to Lain, he asked
the court for an additional peremptory challenge. The court denied this request as well as
appellant's later renewed request for the same relief.  Appellant contends that because he
was forced to use a peremptory challenge on Lain, he was harmed for two reasons. First,
an objectionable juror was seated who had problems completing the jury questionnaire
because of language, reading, comprehension, and other similar issues.   Second, the
harm sustained by appellant was compounded because another juror was later discharged,
allowing a verdict by eleven jurors. 


	The State contends the trial court did not abuse its discretion by denying the
challenge for cause.  We agree.  The record reflects that the following exchanges took
place during voir dire:

	Defense Counsel:	(After providing a hypothetical in which a girl was at a party
where drugs were being used, she refused to participate, but
is arrested). Okay.  Is there anyone-who here disagrees with
Mr. Campbell that his daughter would not be in possession of
the hash pipe?

				Okay.  Ms. Lain.


	Lain:			I'm going to have to partially disagree.  She knew drugs were
being used, and she's present, and I'd say that she has
knowing possession . . . .

				I understand that there are situations like the-described the
concert where it's [drugs]  present.  You're not in possession. 
But, I mean, it is by circumstance.  If you-if you go to a place
and you know that the people there are using illegal drugs,
then I'd say you have some amount of responsibility in that.


                          * * *


	Defense Counsel:	Ms. Lain, do you feel like you want to hear from both sides,
you want to hear from my client, you might hold it against him?


	Lain:			You know, I do.  I would say I would surely want to hear both
sides of the story presented.  I don't know that I would have to
hear from him personally.  And it is a constitutional right, so I
would want to -


	Defense Counsel:	So you would follow the judge's instruction?


	Lain:			I would do my best to follow instructions, yes.


	Defense Counsel:	You say you would do your best, but would you deep in your
heart hold it against them if they hadn't testified and told you
their side of the story?  You're nodding your head yes.  I hate
to tell you, you are nodding your head yes.


	Lain:			If they didn't provide any, you know, sort of debate against
charges, I would find that very hard to accept.


	Defense Counsel:	So you-so this also goes to another kind of legal point,
criminal law.  We don't ever have to prove anything.  We don't
have to do anything.  The State has to do it all.  They have to
prove all of it, every little element of the case, beyond a
reasonable doubt.  And the if, in a possession case, if it's
possession being actual care, custody, control, and
management, or then if they're trying to make that with
circumstantial evidence, even that circumstantial evidence
must be beyond a reasonable doubt.


	Lain:			I hear what you're saying.


	Defense Counsel:	Okay.  But we never have to prove anything.  And we never
have to say anything.  And we can remain silent.  And you
might hold that against my client or case if he remains silent:


	Lain:			If-


	Defense Counsel:	You might be a better juror in a civil case.


	Lain:			If literally your side was just silent, yeah, I think I would have
probably a hard time understanding that.


	Defense Counsel:	All right.


	A trial court has discretion in ruling on challenges for cause, and its rulings will not
be upset on appeal absent an abuse of that discretion.  Herron v. State, 86 S.W.3d 621,
629 (Tex.Crim.App. 2002); King v. State, 29 S.W.3d 556, 558 (Tex.Crim.App. 2000).  The
reviewing court must examine the record as a whole to determine whether there is support
for the trial court's ruling, and, in so doing, it must give deference to the trial court, which
was in a position to see and hear the venire member.  Herron, 86 S.W.3d at 629; Rachal
v. State, 917 S.W.2d 799, 810 (Tex.Crim.App. 1996), cert. denied, 519 U.S. 1043, 117
S.Ct. 614, 136 L.Ed.2d 539 (1996).

	A defendant may challenge a potential juror for cause when that individual has a
"bias or prejudice against any of the law applicable to the case upon which the defense is
entitled to rely, either as a defense to some phase of the offense for which the defendant
is being prosecuted or as a mitigation thereof or of the punishment therefor."  Tex. Code
Crim. Proc. Ann. art. 35.16(c)(2) (Vernon 2006).  "Bias against the law is [the] refusal to
consider or apply the relevant law," which means the panel members' "beliefs or opinions
would prevent or substantially impair the performance of [their] duties as a juror." Sadler
v. State, 977 S.W.2d 140, 142 (Tex.Crim.App. 1998). A party may challenge for cause a
venire member who expresses a clear bias against the law permitting a defendant to refuse
to testify in his own behalf.  Brown v. State, 913 S.W.2d 577, 580-81 (Tex.Crim.App.
1996).  A trial court's decision to dismiss a member of the venire for cause is entitled to
"considerable deference." King, 29 S.W.3d at 568. That deference is particularly important
when the venire member's responses are vacillating, unclear or contradictory. Id.; see
Howard v. State, 941 S.W.2d 102, 107-08 (Tex.Crim.App.1996) (also discussing the
"vacillating veniremember"). A reviewing court considers whether the totality of the voir dire
testimony supports the trial court's finding on whether the prospective juror is able to follow
the law as instructed, and reverses only if a clear abuse of discretion is evident. Id. 

	First, while appellant contends Lain's responses during voir dire indicated an inability
to follow the law with regard to mere presence and possession, we do not find the record
supports the contention.  We do not read Lain's responses as indicating a belief that mere
presence is sufficient to show possession of contraband. Lain explicitly stated that other
circumstances, such as knowledge of drug use at that place, are relevant in making this
determination.   After reviewing the record, we cannot say the trial court erred in denying
appellant's challenge for cause on this basis.

	Second, we agree with appellant that Lain expressed some hesitation and concern
regarding a defendant's failure to testify on his own behalf.  However, we do not read
Lain's response as an indication that she would not follow the law with regard to the
defendant's rights.  Lain expressly stated that she would not have to hear from the
defendant personally.   She also acknowledged that the right to refrain from testifying is a
constitutional right.  Further, Lain stated she would do her best to follow the trial court's
instructions.  While this was not an unequivocal "yes," the trial court could have taken her
response in the context of the voir dire to reflect her assent to follow the law.  See Brown,
913 S.W.2d 580 (venire members who ultimately state they can follow the law are not
challengeable for cause).  We see no abuse of discretion in the trial court's denial of
appellant's challenges for cause against Lain.  Id. We overrule appellant's first point of
error.  


Points of Error Two, Three and Four-Dismissal of Juror

	In appellant's second, third and fourth points, he contends the trial court erred by
excusing juror Chatha after the guilty verdict and after the punishment evidence was closed
but before the court's charge on punishment was read.  Chatha informed the court that
while he had participated in the guilty verdict rendered against appellant, he had
reservations about continuing his jury service in the punishment phase.  After the defense
objected to proceeding with eleven jurors, the court examined Chatha.  Chatha told the
court he had been having dreams in which appellant's name kept appearing and dreams
about what would happen to appellant if he were to go to jail.  He further related that it was
difficult for him to make a decision to put appellant or anyone in jail.  Chatha went on to say
that he did not think he was a good juror and just did not want to have someone else's
future in his hands.  He noted that his reservations  were based on his religious beliefs and
that he had been distressed during the trial. The court declared Chatha was unable to
serve as a juror and informed the parties the trial would proceed with eleven jurors.  The
trial court then denied several objections pertaining to this ruling and denied appellant's
motions for a mistrial.  

	Appellant, citing articles 1.17 and 35.16 of the Code of Criminal Procedure, (3) argues
the trial court abused its discretion because religious belief is not a basis for disqualification
of a person from serving in a criminal trial.  Appellant further argues that under article
36.29, Chatha was not disabled.  See Tex. Code Crim. Proc. Ann. art. 36.29 (Vernon
2007).

	Determination of disability that may prevent a juror from discharging his or her duties
is within the trial court's sound discretion.  Timmons v. State, 952 S.W.2d 891, 892
(Tex.App.-Dallas 1997, no pet.), citing Landrum v. State, 788 S.W.2d 577, 579
(Tex.Crim.App. 1990).  The trial court's determination does not give rise to reversible error
unless it constitutes an abuse of discretion.  Timmons, 952 S.W.2d at 892.  A trial court
abuses its discretion when it acts in an arbitrary and capricious manner.  Montgomery v.
State, 810 S.W.2d 372, 380 (Tex.Crim.App. 1990) (op. on reh'g). 		

	We do not read the trial court's decision to discharge Chatha as one rendered on
the basis of religious beliefs.  Instead, we understand the trial court's ruling to be based on
Chatha's mental distress that the court found caused him to be unable to fully and finally
perform his duties as juror.  For purposes of article 36.29(a), the term "disabled" means
any condition that inhibits a juror from fully and fairly performing the functions of a juror. 
Griffin v. State, 486 S.W.2d 948, 951 (Tex.Crim.App. 1972).  An inhibiting condition can
be physical, mental or emotional.  Carrillo v. State, 597 S.W.2d 769, 771 (Tex.Crim.App.
1980).  Texas courts have determined that various conditions will render a juror disabled
within the meaning of article 36.29.  Timmons, 952 S.W.2d at 893 (collecting cases). We
find the trial court reasonably could have concluded that Chatha's emotional or mental
distress, caused at least in part by the dreams about appellant he experienced during trial,
was of such a nature as to inhibit him from fully and fairly performing the functions as a
juror. The trial court did not err in discharging Chatha and proceeding with eleven jurors.

	  We find also that appellant's right to a jury trial (4) was not violated by the trial court's
action in connection with Chatha.  We agree with the State that appellant's reliance on
Castaneda v. State, 28 S.W.3d 685 (Tex.App.-Corpus Christi 2000, no pet.), is misplaced. 
As the State points out, the juror in that case became disabled during deliberations and
accordingly, article 36.29(c) applied, requiring discharge of the jury unless the parties
agreed to proceed with eleven jurors.  Here, Chatha was found to be disabled before the
charge was read and before the jury entered deliberations.  Article 36.29(a) thus applied,
permitting the trial to proceed with eleven jurors, even in the face of an objection.  See Tex.
Code Crim. Proc. Ann. art. 36.29(a) (providing in part, that if a juror becomes disabled from
sitting at any time before the charge of the court is read to the jury, the remainder of the
jury shall have the power to render the verdict).  See Rojas v. State, 986 S.W.2d 241, 249
(Tex.Crim.App. 1998), citing Sanchez v. State, 837 S.W.2d 791, 795 (Tex.App.-Houston
[14th Dist.] 1992, pet. ref'd) ("charge" as used in article 36.29(a) means the last instruction
given in each phase of a bifurcated trial); Gray v. State, No. 09-03-045-CR, 2003 WL
21767079 (Tex.App.-Beaumont July 30 2003, pet. ref'd) (mem. op., not designated for
publication) (noting same).  For the same reason, we find Chavez v. State, 34 S.W.3d 692
(Tex.App.-Amarillo 2000, pet. granted), on remand, 134 S.W.3d 244 (Tex.App.-Amarillo
2003, pet. ref'd) also cited by appellant, to be distinguishable.


	We likewise find the other cases on which appellant relies distinguishable.  For
example, appellant cites Ex Parte Smith, 817 S.W.2d 797, 800 (Tex.App.-Amarillo 1991, 
no pet.) for the proposition that a mistrial is required when a juror is absolutely disqualified
from service.  Here, however, Chatha was not absolutely disqualified; instead, he became
disabled from sitting on the jury due to a mental or emotional condition.  Appellant also
points to other cases in which courts found jurors were not subject to discharge for an
inability to be fair.  This again is not the situation we have here.  Chatha never stated he
could not be fair.  Instead, he related distress to such a degree that it impaired his ability
to fully function as a juror.  We do not find support for appellant's position in any of the
cases cited by appellant.  We overrule appellant's second, third and fourth points of error.

Point of Error Five-Denial of Right to Jury Trial 

	In appellant's fifth point of error, he contends his right to a jury trial was violated
when one of the jurors fell asleep for some period of time during trial.  The record reflects
that while presenting evidence of appellant's prior convictions during the punishment phase
of trial, the prosecutor asked to approach the bench, stating, "[r]eal quick, I wonder if the
Court might mind waking up our juror.  I wonder if you might mind waking up our juror that's
in the front row there."   Subsequently, the following exchange took place:

	Defense Counsel:	Oh, you know, I do want to make a record that Ms. Delgado,
juror number two from the voir dire panel, that was her
number, that she was asleep during the punishment phase of
trial and that [the prosecutor] noticed that while we were at the
bench.


	The Court:		And I have had my eye on Ms. Delgado, and she has been
extremely tired at times, and she has had her eyes closed, but
the only time that I noted that she seemed to be actually not
awake was the brief time when [the prosecutor] asked to
approach the bench.  Because I have been watching her
myself, and I will note that for the record, that while she has
had her eyes opened and closed, she's never had her eyes
closed for an extended period other than when we had the
break, and the break seemed to wake her up, and she's been
alert and listening ever since then.  That is what I have noted.


	While appellant made a record at trial of the juror's conduct, he did not object at any
time, nor did he move for a mistrial or file a motion for new trial on this issue.  To preserve
error, there must be a timely, specific request, objection or motion. Tex. R. App. P.
33.1(a)(1); Menard v. State, 193 S.W.3d 55, 60 (Tex.App.-Houston [1st Dist.] 2006, pet.
ref'd), citing Thieleman v. State, 187 S.W.3d 455 (Tex.Crim.App. 2005). Thus, this point
of error presents nothing for our review.   We overrule appellant's fifth issue.

Point of Error Six-Denial of Appellant's Right to Jury Trial in Jury's Consideration of "Other
Evidence"

	Appellant's sixth point raises a complaint regarding State's exhibit 71.  He contends
that this exhibit was never admitted into evidence but was nevertheless published to the
jury.  The record reflects, and appellant concedes, that he did not object to the publication
of this exhibit.  Appellant argues that the publication of the exhibit not admitted into
evidence precluded effective cross-examination and confrontation of the exhibit and thus,
his failure to object should therefore be "excused."  We disagree.

	Even constitutional error may be waived by failure to raise the issue at trial. See
Briggs v. State, 789 S.W.2d 918, 924 (Tex.Crim.App.1990) (en banc) (holding that, by
failing to object, appellant waived claim that admission of videotape violated his rights to
confrontation and due process/due course of law); see Tex. R. App. P. 33.1 (requiring
objection to preserve error for appeal). Specifically, a defendant waives his constitutional
right to confrontation if he does not object to the denial of that right at trial. Holland v. State,
802 S.W.2d 696, 700 (Tex.Crim.App.1991) (en banc) (holding that appellant's hearsay
objection did not preserve claim that evidence violated appellant's right of confrontation);
Thacker v. State, 999 S.W.2d 56, 61 (Tex.App.-Houston [14th Dist.] 1999, pet. ref'd)
(emphasizing that hearsay objections and objections to violations of the constitutional right
of confrontation are not synonymous; thus, appellant's failure to object on the basis of the
confrontation clause waived appellant's right to confront witnesses); Saldivar v. State, 980
S.W.2d 475, 496 (Tex.App.-Houston [14th Dist.] 1998, pet. ref'd) (holding that appellant's
objection to hearsay and failure to object on the ground that the hearsay admission
violated appellant's right to confrontation was insufficient to preserve error).   Appellant's
sixth point presents nothing for our review, and is overruled.

Points of Error Seven and Eight-Denial of Appellant's Motion for Mistrial Due to Prosecutor
Argument

	Via appellant's seventh and eighth points, he contends the trial court abused its
discretion in denying his motions for mistrial stemming from the prosecutor's arguments.

  	During his argument to the jury on guilt-innocence, the prosecutor referred to
alleged sales of crack cocaine occurring shortly before appellant was arrested.  Appellant
contends these sales were outside the record in this case and the argument was improper. 
When appellant objected on that basis at trial, the court sustained the objection and
instructed the jury to disregard the argument.  However, the court denied appellant's
motion for a mistrial, which ruling is the subject of appellant's seventh point of error. 

	The denial of a motion for mistrial is reviewed under the standard of abuse of
discretion.  Webb v. State, 232 S.W.3d 109, 112 (Tex.Crim.App. 2007).  A trial court does
not abuse its discretion when its decision is within the zone of reasonable disagreement. 
Wead v. State, 129 S.W.3d 126, 129 (Tex.Crim.App. 2004); Montgomery v. State, 810 at
391.  Mistrial is a device used to halt trial proceedings when an error is so prejudicial that
expenditure of further time and expense would be wasteful and futile. Ladd v. State, 3
S.W.3d 547, 567 (Tex.Crim.App. 1999). To determine whether a given error necessitates
a mistrial, we must examine the particular facts of the case. Id. A mistrial is required only
when the impropriety is clearly calculated to inflame the minds of the jury and is of such
a character as to suggest the impossibility of withdrawing the impression produced on the
minds of the jury. Hinojosa v. State, 4 S.W.3d 240, 253 (Tex.Crim.App. 1999). See also
Hawkins v. State, 135 S.W.3d 72, 77 (Tex.Crim.App. 2004) (only in extreme
circumstances, where the prejudice is incurable, will a mistrial be required). An appellate
court presumes the jury will follow instructions to disregard the evidence. Drake v. State,
123 S.W.3d 596, 604 (Tex.App.-Houston [14th Dist.] 2003, pet. ref'd), citing Ladd, 3
S.W.3d at 567 as quoting Gardner v. State, 730 S.W.2d 675, 696 (Tex.Crim.App.1987) (en
banc).  See also Brock v. State, 275 S.W.3d 586, 591 (Tex.App.-Amarillo 2008, pet. ref'd).

	During defense counsel's closing, she argued in part, "Okay.  In a possession with
intent to deliver case, you would usually see, you know, these little packaging things, little
packaging things.  You would see probably receipts.  You would see cell phones.  You
would see dope notes.  You would see names of hookups and connections.  You would
see that kind of stuff.  You would have that stuff.  You would have-you would really truly
probably have more cocaine.  The amount that's alleged is only 4.9 grams, you know, and
it's-the way-the way he is charged is four to 200.  I think this does not certainly rise to the
level of possession with intent to deliver.  I think their case is weak . . . ."  In response, the
State argued, "Oh, and we bring you receipts. Defense counsel said we should-we bring
you receipts from-if we had intent to deliver here.  I'm sorry, you get a warranty with dope,
is that it?  What?  You get a 30-day money back guarantee? Come on.  We brought you
the intent to deliver here.  Okay?  He knew-he was still selling.  This isn't a lot of crack? 
Eleven rocks is not a lot of crack?  Well, forgive us for not catching him earlier in the day
when he sold the rest of it and the day before."

	Thereafter, the following exchange occurred:

	Defense Counsel:	Objection.  Outside the record and -


	The Court:		Sustained.


	Defense Counsel:	Could we have an instruction?


	The Court:		And jury will disregard last statement of prosecutor.


	Defense Counsel:	Move for mistrial.

	The Court:		Denied.


	Prosecutor:		(Continuing closing argument)There's 11 crack rocks here.  He
had $500 worth of crack rocks in that motel room.  He had a
hundred-dollar bill on top of it.  He had $200 on him when he
was arrested.


	At the outset, we note that although the trial court sustained appellant's objection,
the prosecutor's argument was only marginally outside the record if at all.  The amount of
cocaine present, coupled with the amount of cash found with it and on appellant, are
factors from which the jury could have inferred appellant's intent to deliver. See Jordan v.
State, 139 S.W.3d 723, 726 (Tex. App.-Fort Worth 2004, no pet.); Taylor v. State, 106
S.W.3d 827, 831 (Tex. App.-Dallas 2003, no pet.); Williams v. State, 902 S.W.2d 505, 507
(Tex. App.-Houston [1st Dist.] 1994, pet. ref'd) (listing factors courts consider in reviewing
findings of intent to deliver).  Implicit in such an inference based on the presence of large
amounts of cash is the further inference that the cash was derived from drug sales. See
Hooper v. State, 214 S.W.3d 9, 13 (Tex.Crim.App. 2007) (discussing rational inferences).
That factor aids our conclusion that the trial court's instruction to disregard cured any
prejudice from the prosecutor's argument. See, e.g., Morales v. State, 32 S.W.3d 862, 867
(Tex.Crim.App. 2000) (the character of the alleged error is considered in assessing the
likelihood that the jury's decision was adversely affected by the error); Waldo v. State, 746
S.W.2d 750, 754 (Tex.Crim.App. 1988) (the character of the alleged error impacts the
evaluation of curative effect of instruction); Rodriguez v. State, No. 08-01-00103-CR, 2004
Tex. App. LEXIS 1237 (Tex.App.-El Paso Feb. 10, 2004, no pet.) (mem. op., not
designated for publication) (noting same). We further find the remark in the prosecutor's
closing was not so inflammatory that the trial court's instruction to disregard it could not
have had its presumed curative effect.  We find the trial court did not abuse its discretion
in denying appellant's motion for a mistrial, and overrule appellant's seventh point of error. 

	In appellant's eighth point, he contends another argument of the prosecutor, this
time during the punishment phase of trial, entitled him to a mistrial.  We again disagree. 
Appellant testified during the guilt-innocence phase of his trial.  During the State's closing
argument at punishment, the State referred to that testimony, arguing:  "If you remember
[appellant's] testimony during the guilt/innocence phase, you know, [the other prosecutor]
went through those [other convictions] with him.  And this was his day, this was his week,
this was his time to-to put his best foot forward, to do the best sales job he'd ever done,
and he'd say, 'Yeah, yeah, that was me.  I got those convictions.  I was convicted of that. 
I took the rap for it, but I didn't do it.'  His opportunity to put himself in the best light he
could and minimize the bad actions he's had.  That's the choice he took. [Appellant] didn't
get up here and say, 'I'm a two-time convicted drug dealer, and I feel horrible, I feel horrible
for putting poison in the homes and the bodies of people.'  He didn't tell you that.  He didn't
give you his sincerity.  He gave you his attempt to minimize." 

	Defense counsel apparently objected and the following exchange took place:

	Defense counsel:	Comment on failure to testify at punishment.


	Prosecutor:		I'm talking about his testimony at guilt and innocence.


	The Court:		Sustained.


	Defense counsel:	Move to-ask the jury to disregard.


	The Court:		And I'll instruct the jury to disregard last comment of counsel
regarding the Defendant's testimony.


	Defense counsel:	Move for mistrial.


	Prosecutor:		I want you to consider the way he acted and what he said
when he testified in guilt and innocence.  That's all I'm saying. 
Okay?  Because the law allows you to do that.  So consider it. 
Was he genuine with you when testified, and was he sincere?


	 We agree with appellant, and the State concedes, that the prosecutor's reference
to his refusal to express remorse and, by extension, appellant's choice not to testify at trial
at the punishment stage, was improper.  We find, however, that the trial court's instruction
to disregard sufficiently cured the error because the State's references were brief, isolated
and not so prejudicial as to be incurable.  Given the brevity of the comment in the overall
context of the State's argument, the trial court did not abuse its discretion in denying
appellant's motion for a mistrial.  We overrule appellant's eighth point of error.

Point of Error Nine-Denial of Motion for Mistrial Due to Evidence of Earlier Drug Buys

	In appellant's ninth point, he complains of a non-responsive answer by a detective
concerning an alleged extraneous offense, a narcotics purchase from appellant by a
confidential informant. During defense counsel's cross-examination of the officer during the
guilt-innocence phase, counsel asked a question concerning police surveillance of the
motel.  The officer answered non-responsively and mentioned a previous narcotics
purchase from appellant.  Appellant asked for and received an instruction to disregard the
officer's non-responsive answer, but his motion for mistrial was denied.  

	Appellant argues on appeal that the officer's answer injected harmful error into the
trial that was compounded by the prosecutor's later closing argument in which he referred
to previous drug sales, the subject of appellant's seventh point of error.  As we did when
addressing appellant's seventh point, we note in assessing the impact of the officer's
answer that the subject of drug sales by appellant was not foreign to this record.  Again,
the amount of cocaine and the amount of cash present were properly before the jury. 
Considering the entire record and even taking into consideration the State's reference in
its closing argument, we find the court's instruction cured the officer's reference to the
extraneous drug sale.  The court in Coe v. State, 683 S.W.2d 431, 435 (Tex.Crim.App.
1984), an aggravated robbery case, found the court's instruction to disregard cured any
error from an officer's non-responsive answer referring to extraneous robbery offenses,
noting "testimony referring to or implying extraneous offenses allegedly committed by the
defendant may be rendered harmless by the trial court's instruction to disregard."  Id. at
436. See also Shannon v. State, 942 S.W.2d 591, 597-98 (Tex.Crim.App. 1996) (comment
outside record that defendant was a sociopath cured by prompt instruction to disregard);
Borner v. State, 827 S.W.2d 65, 68 (Tex.App.-Houston [1st Dist.] 1992, pet. ref'd)
(objectionable statement that anonymous informant was in fear of retaliation, consisting
of four words that were not repeated, could have been cured by an instruction to
disregard).  Accordingly, we conclude the trial court did not abuse its discretion in denying
appellant's motion for mistrial.  We overrule appellant's ninth point of error.

Point of Error Ten-State's Use of Prior Convictions to Impeach Appellant

	Through appellant's last point of error, he asserts the trial court erred by allowing
the State to utilize appellant's prior convictions for impeachment purposes.  The issue
arose after the defense elicited testimony from a witness to the effect that appellant was
giving Carrie money to pay for the motel room.  The State argued that only appellant could
have given the witness that information.  The State then argued to the court that appellant
must be considered the declarant of the hearsay statements to which the witness testified,
and it was entitled to impeach his credibility pursuant to evidentiary rules 806 and 609. 
Tex. R. Evid. 806, 609.	

	The trial court agreed, and allowed the prosecutor to ask the witness if she knew
appellant had been previously convicted of possession of marijuana, delivery of a
controlled substance, theft of property on two separate occasions, and theft by check. 
Later in the trial, appellant testified, admitting to paying for the motel room for Carrie and
his daughter on several occasions.  The State introduced receipts confirming two rooms
at the motel under appellant's name.  The evidence of appellant's prior convictions was
presented without objection during appellant's testimony.

	Assuming, arguendo, the trial court abused its discretion by allowing the State to ask
the witness questions concerning whether appellant paid for the motel room and questions
about appellant's prior convictions, any harm arising from the error was cured when
appellant later testified that he paid for the motel room-the very same conclusion implicit
in the witness's testimony-and when evidence of appellant's convictions was admitted
without objection during his testimony. See Reyes v. State, 84 S.W.3d 633, 638
(Tex.Crim.App. 2002) (a defendant who allows evidence to be introduced from one source
without objection forfeits any subsequent complaints about the introduction of the same
evidence from another source).   We overrule appellant's final point of error.

Conclusion

	Finding no reversible error, we overrule each of appellant's ten points of error and
affirm appellant's conviction and sentence.

							

							James T. Campbell

							          Justice



Do not publish.



Pirtle, J., dissenting.  


	





						
1.         §      
      '   
            §    
  " "      
2.                  
           "  " 
3.              
4.   See Tex. Const. art. V, § 13.


